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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  AMERICAN CENTER FOR LAW AND
  JUSTICE,

                          Plaintiff,
                                                            Civil Action No. 23-0608 (ABJ)
         v.

  U.S. DEPARTMENT OF STATE,

                          Defendant.


                                             ANSWER

       Defendant Department of State, by and through the undersigned counsel, respectfully

responds as follows to the separately numbered paragraphs and prayer for relief in Plaintiff

American Center for Law and Justice’s complaint, ECF No. 1, in this case under the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552. Any allegations not specifically admitted, denied, or

otherwise responded to below are hereby denied. To the extent the complaint refers to or quotes

from external documents, statutes, or other sources, Defendant may refer to such materials for their

complete and accurate contents, but such references are not intended to be, and should not be

construed as, an admission that the cited materials are (1) correctly cited or quoted by Plaintiff, (2)

relevant to this, or any other, action, or (3) admissible in this, or any other, action. For ease of

reference, this answer replicates the headings contained in the complaint. Although Defendant

believes such headings require no response, to the extent a response is deemed required and those

headings and titles could be construed to contain factual allegations, those allegations are denied.
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                                           COMPLAINT

       The unnumbered paragraph at the beginning of the complaint consists of Plaintiff’s

characterization of this action and the relief it seeks, which requires no response. To the extent a

response is required, Defendant denies that Plaintiff is entitled to the relief sought or to any relief

whatsoever.

                                 JURISDICTION AND VENUE

       1.      This paragraph consists of legal conclusions, which require no response.

       2.      This paragraph consists of legal conclusions, which require no response.

       3.      This paragraph consists of legal conclusions, which require no response.

       4.      This paragraph consists of legal conclusions, which require no response.

                                             PARTIES

       5.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       6.      Defendant admits that it is an agency of the United States with offices at the location

specified. The remainder of this paragraph consists of legal conclusions, which require no

response.

                                   FACTUAL ALLEGATIONS

       7.      Defendant admits that on November 30, 2022, it received a FOIA request from

Plaintiff, and that a copy of that request is attached as Exhibit A to the complaint.

       8.      This paragraph consists of a purported excerpt of Plaintiff’s FOIA request.

Defendant avers that the request is the best evidence of its contents, respectfully refers the Court

to the request for a complete and accurate statement of its contents, and denies any allegations

inconsistent with the request.




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         9.       This paragraph consists of legal conclusions, which require no response, as well as

a purported excerpt of Plaintiff’s FOIA request. Defendant avers that the request is the best

evidence of its contents, respectfully refers the Court to the request for a complete and accurate

statement of its contents, and denies any allegations inconsistent with the request.

         10.      Defendant admits that it sent Plaintiff an email dated December 8, 2022. The

remainder of this paragraph consists of a purported characterization of that email. Defendant avers

that the email is the best evidence of its contents, respectfully refers the Court to the email for a

complete and accurate statement of its contents, and denies any allegations inconsistent with the

email.

         11.      Defendant admits that it had not sent Plaintiff any additional communications by

the date that Plaintiff filed the complaint.

                                        CAUSE OF ACTION

                                               COUNT I
                             Violation of the Freedom of Information Act

         12.      Defendant re-alleges and incorporates its responses to paragraphs 1 through 11 as

if fully set forth herein.

         13.      This paragraph consists of legal conclusions, which require no response.

         14.      This paragraph consists of excerpts and Plaintiff’s characterization of a statute.

Defendant avers that the statute is the best evidence of its contents, respectfully refers the Court to

the statute for a complete and accurate statement of its contents, and denies any allegations

inconsistent with the statute.

         15.      This paragraph consists of legal conclusions, which require no response.

         16.      Admitted.

         17.      Admitted.



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        18.      Admitted.

        19.      This paragraph consists of legal conclusions, which require no response.

        20.      This paragraph consists of legal conclusions, which require no response.

        21.      This paragraph consists of Plaintiff’s characterization of an email that Defendant

sent it. Defendant avers that the email is the best evidence of its contents, respectfully refers the

Court to the email for a complete and accurate statement of its contents, and denies any allegations

inconsistent with the email.

        22.      This paragraph consists of legal conclusions, which require no response.

        23.      This paragraph consists of legal conclusions, which require no response.

        24.      This paragraph consists of legal conclusions, which require no response. To the

extent a response is required, denied.

        25.      This paragraph consists of legal conclusions, which require no response.

        26.      This paragraph consists of legal conclusions, which require no response.

        27.      This paragraph consists of legal conclusions, which require no response.

        28.      This paragraph consists of legal conclusions, which require no response.

        29.      This paragraph consists of legal conclusions, which require no response.

        The remaining allegations in Plaintiff’s complaint consist of Plaintiff’s “Prayer for Relief,”

which requires no response. To the extent a response may be deemed required, Defendant denies

that Plaintiff is entitled to the relief requested, or to any relief whatsoever.

                                           *        *       *

        In further response to the complaint, Defendant raises the following defenses. Defendant

respectfully requests and reserves the right to amend, alter, and supplement the defenses in this




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answer as the facts and circumstances giving rise to the complaint become known to Defendant

throughout the course of this litigation.

                                             First Defense

       Defendant conducted an adequate search for records responsive to the FOIA requests.

                                            Second Defense

       Plaintiffs are not entitled to production of records protected from disclosure by one or more

applicable exemptions the release of which foreseeably would harm an interest that the exemption

protects, or which are protected from disclosure by one or more applicable exclusions.

                                             Third Defense

       Plaintiffs are not entitled to production of non-exempt portions of records that are not

reasonably segregable from exempt portions of records.

                                            Fourth Defense

       The Court lacks subject matter jurisdiction over this action to the extent that any requested

relief exceeds the relief authorized by the FOIA.

                                             Fifth Defense

       Plaintiffs are neither eligible for nor entitled to attorneys’ fees or costs.

Dated: May 1, 2023                              Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                D.C. Bar #481051
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division

                                       By:      /s/
                                                BRADLEY SILVERMAN
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